

Per Ouriam.

[262] The action is well brought; the legal interest in the bill single was vested in the plaintiff, and he need only declare upon the instrument according to its legal force and effect. It was not necessary that he should describe himself as agent; and had he done so, it would have been surplusage. The judgment must be reversed, and this Court, proceeding to render such judgment as the Circuit Court ought to have done, order and adjudge that the demurrer to the declaration be overruled, *582and judgment be entered up for the plaintiff, for the amount of the note with legal interest thereon, from the time it was due.
Judgment reversed. 1

 Okiginaií Note. —Acc. Buffum v. Chadwick, 8 Mass. Rep. 103.

